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                Exhibit 34
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  Florida Members of Congress Call on UF to Lift Gag on Professors in Voting Rights Suit
  Washington, November 2, 2021

  Washington D.C. - Today, Florida's entire Democratic congressional delegation sent a letter to University
  of Florida President Kent Fuchs condemning the school's attempt to block three professors from
  testifying in a state voting rights lawsuit and the federal lawmakers requested that school
  administrators reverse any attempts to stifle the instructors' academic freedoms and free speech
  rights.

  "As a delegation, there are few values we want to foster and protect more in our public university
  system than the freedom to speak out against laws that infringe on our fundamental rights as citizens,"
  said the letter, Led by U.S. Rep. Debbie Wasserman Schultz (FL-23), a University of Florida graduate.
  "We urge you to reconsider this 'prior restraint' on speech that violates the First Amendment as well as
  the deeply rooted principles of academic freedom that we know you and the University of Florida
  community hold so dear"

  Administrators at UF contend that the professors' testifying in a lawsuit challenging the discriminatory
  Impact of a new voting rights Law would pose a conflict and be "adverse to UF's interest." However, the
  professors participated In a similar 2019 legal challenge to a Florida law that also placed restrictions on
  voting rights.

  "On matters of public concern, state university professors should not be punished or prohibited from
  speaking if they do not disrupt the educational environment or proper functioning of the University the
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   Schultz, and Reps. Kathy Castor (FL-14), Ted Deutch (FL-22). Frederica Wilson (FL-24), Lois Frankel
   (FL-21). Charlie Crist (FL-13), Val Demings (FL-10). Al Lawson (FL-05). Stephanie Murphy (FL-07). and
   Darren Soto (FL-0g).

   The lawmakers noted that any action to restrict the professors free speech rights would undermine the
   school's claims to academic freedom, and its ability to recruit and retain top academic talent. And
   given the law they are challenging, the professors' efforts should be encouraged.

   Professors Smith. McDonald, and Austin are lending their voice and expertise to oppose this
   unconstitutional and undemocratic effort, one that most disturbingly, will disproportionately inhibit
   Black and Latino citizens from exercising their fundamental right to vote: the legislators wrote. 'Rather
   than standing in the way, the University of Florida should encourage faculty in efforts that prevent the
   infringement of fundamental rights. Assisting political actors in carrying on Florida's ugly vestige of
   minority voter suppression would be a historic stain on the university and this Administration's legacy.'

   Read the entire letter below:

   November 2, 2021

   Dr. W. Kent Fuchs

   President

   University of Florida

   Gainesville, FL 3261

   Dear President Fuchs,

   We write to express our profound disappointment with the decision to prevent three University of Florida
   professors from serving as expert witnesses in a lawsuit challenging Florida's new. restrictive and
   undemocratic voting rights law. As a delegation. there are few values we want to foster and protect more
   in our public university system than the freedom to speak out against laws that infringe on our
   fundamental rights as citizens. We urge you to reconsider this 'prior restraint' on speech that violates the
   First Amendment as well as the deeply rooted principles of academic freedom that we know you and the
   University of Florida community hold so dear.

   The First Amendment safeguards expression from regulation by public institutions, inside and outside the
   classroom. On matters of public concern, state university professors should not be punished or prohibited
   from speaking if they do not disrupt the educational environment or proper functioning of the university. in
   this instance, it is hard to envision a matter of greater public concern than whether Florida's citizens can
   exercise their right to vote. By offering their expert testimony, in no way do these professors interfere with an
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zr...—; !any clearly infringes on the First Amendment rights of Professors Smith. McDonald. and Austin.

Further any action► to muzzle these professors also contradicts the University of Florida's own claim to
honor academic freedom. Since its founding over 160 years ago, the University of Florida has been a
premier public research university, with distinguished faculty and top-ranked academic programs. Along
with educational rigor, the university also measures Its success on community impact and improving lives.
According to school regulations, faculty must be Tree to cultivate a spirit of inquiry and scholarly criticism'
and 'publish the results in a manner consistent with professional obligations.'           These regulations are
consistent with well-established principles of academic freedom developed by educational associations
and implemented nationwide. The scholarship conducted at the university is done, as its own mission
states, to serve 'the public good," and institutional censorship on political grounds must not be tolerated.

in some of its public statements, the university also seems to have taken a modified position that
participation In this voting rights lawsuit would not constitute a conflict of Interest, but only if the professors
were working pm bona This distinction is troubling for many reasons. Most importantly, it is common
practice in the legal profession to compensate experts when they contribute to testimony or written ►eports.
The ability to exercise their academic freedom and First Amendment rights should not be dependent on
forgoing payment Second, it appears to be applied inconsistently. This latest pro bono position seems to
represent a sharp break from past precedent at the University of Florida and would position the university
firmly outside the mainstream of elite academic institutions. Since 2012, Professor Smith has repeatedly
testified in voting rights cases against the state of Florida. in each instance, it is our understanding that his
participation has been approved by the university, and he has been paid for his work. The decision to
change course and only permit pro bono participation provides even greater credence to the assumption
that this decision involved politically-motivated viewpoint discrimination.

The University of Florida also indicated in a public statement that permitting faculty to participate in this
lawsuit would be 'adverse to the University's interests as a Florida institution." Nothing could be further
from the truth. The passage of SB go will make voter registration harder. limit voting-by-mail, and curb the
secure ballot drop boxes that L5 million Floridians used in 2020. Professors Smith, McDonald, and Austin
are lending their voice and expertise to oppose this unconstitutional and undemocratic effort, one that
most disturbingly, Will disproportionately inhibit Black and Latino citizens from exercising their fundamental
right to vote. Rather than standing in the way, the University of Florida should encourage faculty in efforts
that prevent the infringement   of fundamental rights. Assisting political actors in carrying on Florida's ugly
vestige of minority voter suppression would be a historic stain on the university and this Administration
legacy

it is our hope that you simply reverse your current positions and allow these professors to participate with
compensation in this voting rights lawsuit. The prospect that the University of Florida would stand on an
academic island In this respect would undoubtedly chill its ability to ►etain and recruit top talent.
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 such faculty participation?

 z             Why has them been a change from past precedent that allowed University of Florida professors to
 participate in lawsuits against the state of Florida? Has the university ever previously prevented faculty
 participation in a lawsuit against the state of Florida because it deemed it a conflict of interest? If so, can
 you please provide examples?

 3.             if there was indeed a recent change in policy, can you please provide information indicating the
 timing and notification that was provided to the faculty of this change?

 4.             if as you claim, this testimony is 'adverse to the interests' and therefore constitutes a conflict of
 interest: how would permitting pro bono participation mitigate this conflict? Have there been other
 instances of denying professors the ability to testify for pay, and a pro bono alternative was offered
 instead? Again, can you please provide examples?




 We appreciate your consideration and look forward to your response.




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